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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

  VIAMEDIA, INC.,                                 )
                                                  )
                    Plaintiff,                    )        Case No. 1:16-cv-05486
                                                  )
  v.                                              )        Hon. Amy St. Eve
                                                  )
  COMCAST CORPORATION, and                        )
  COMCAST SPOTLIGHT, LP,                          )
                                                  )
                    Defendants.                   )

                             DECLARATION OF DANIEL T. FENSKE

           Daniel T. Fenske, pursuant to 28 U.S.C. § 1746, hereby declares:

           1.     I am a partner at Jenner & Block LLP, and we represent Comcast Corporation

and Comcast Cable Communications Management, LLC (successor to Comcast Spotlight,

LP and together with Comcast Corporation, “Comcast”) in the above-captioned matter.                 I

respectfully submit this declaration in support of Defendants’ Motion for Summary Judgment

and Defendants’ Rule 56.1 Statement of Undisputed Material Facts.

           2.     Attached hereto are true and correct copies of the following exhibits:

 EXHIBIT
   NO.
                                 DESCRIPTION OF EXHIBIT                            ABBREVIATION

       1        Declaration of Dennis W. Carlton (Mar. 15, 2018)                  N/A
   1.1          Expert Report of Dennis W. Carlton (Oct. 16, 2017)                Carlton Rep.
                                                                                  Carlton Rebutt.
   1.2          Rebuttal Expert Report of Dennis W. Carlton (Nov. 30, 2017)
                                                                                  Rep.
   1.3          Errata Sheet for Reports of Dennis W. Carlton (Dec. 19, 2017)     N/A
                                                                                  Furchtgott-Roth
       2        Expert Report of Harold Furchtgott-Roth (Oct. 16, 2017)
                                                                                  Rep.
                Rebuttal Expert Report of Harold Furchtgott-Roth (Nov. 30,        Furchtgott-Roth
       3
                2017)                                                             Rebutt. Rep.
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EXHIBIT
  NO.
                         DESCRIPTION OF EXHIBIT                            ABBREVIATION

          Transcript of Deposition of Harold Furchtgott-Roth (Jan. 4,      Furchtgott-Roth
   4
          2018) (Excerpts)                                                 Tr.
   5      Expert Report of Thomas Z. Lys (Oct. 16, 2017)                   Lys 1st Rep.
   6      Amended Expert Report of Thomas Z. Lys (Jan. 2, 2018)            Lys 2d Rep.
          Transcript of Deposition of Thomas Lys (Jan. 3, 2018)
   7                                                                       Lys Tr.
          (Excerpts)
          Carlton, “A General Analysis of Exclusionary Conduct and
   8      Refusal to Deal—Why Aspen and Kodak Are Misguided,”              N/A
          Antitrust Law Journal (2001)
          Carlton & Waldman, “How Economics Can Improve Antitrust
          Doctrine towards Tie-In Sales: Comment on Jean Tirole’s ‘The
   9                                                                       N/A
          Analysis of Tying Cases: A Primer,’” Competition Policy
          International, Vol. 1, No. 1 (Spring 2005)
          Transcript of Deposition of John Gdovin (Sept. 26, 2017)
  10                                                                       Gdovin Tr.
          (Excerpts)
          Transcript of Deposition of Misty Jensen (Sept. 20, 2017)
  11                                                                       Jensen Tr.
          (Excerpts)
          Transcript of Deposition of Jeffrey Carter (Sept. 7, 2017)
  12                                                                       Carter Tr.
          (Excerpts)
          Transcript of Deposition of Mark Lieberman (Sept. 6, 2017)
  13                                                                       Lieberman Tr.
          (Excerpts)
          Transcript of Deposition of David Solomon (July 13, 2017)
  14                                                                       Solomon Tr.
          (Excerpts)
          Transcript of Deposition of Henry Oster (Aug. 30, 2017)
  15                                                                       Oster Tr.
          (Excerpts)
          Transcript of Deposition of Roland Trombley (July 26, 2017)
  16                                                                       Trombley Tr.
          (Excerpts)
          Transcript of Deposition of David Kline (Sept. 29, 2017)
  17                                                                       Kline Tr.
          (Excerpts)
          Transcript of Deposition of Christopher Black (Sept. 29, 2017)
  18                                                                       Black Tr.
          (Excerpts)
          Transcript of Deposition of Brian Hunt (July 20, 2017)
  19                                                                       Hunt Tr.
          (Excerpts)
          Transcript of Deposition of Stephen M. Wall (Aug. 9, 2017)
  20                                                                       Wall Tr.
          (Excerpts)




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EXHIBIT
  NO.
                          DESCRIPTION OF EXHIBIT                             ABBREVIATION

          Transcript of Deposition of Richard Tarvin (July 11, 2017)
  21                                                                         Tarvin Tr.
          (Excerpts)
          Transcript of Deposition of John Bordeleau (Sept. 27, 2017)
  22                                                                         Bordeleau Tr.
          (Excerpts)
          Transcript of Deposition of Randy Lykes (Sept. 22, 2017)
  23                                                                         Lykes Tr.
          (Excerpts)
  24      Transcript of Deposition of Paul White (Sept. 27, 2017)            White Tr.
          Transcript of Deposition of David Schroeder (Aug. 26, 2017)
  25                                                                         Schroeder Tr.
          (Excerpts)
          Transcript of Deposition of Michael Gaylord (Sept. 26, 2017)
  26                                                                         Gaylord Tr.
          (Excerpts)
          Plaintiff Viamedia, Inc.’s Response to Defendants’ Fifth Set of    Pls.’ Resp. Defs.
  27
          Interrogatories (Oct. 6, 2017)                                     5th Interrogs.
                                                                             Pls.’ 2d Supp.
          Plaintiff Viamedia, Inc.’s Second Supplemental Responses to        Resp. Defs.’ 1st
  28      Defendants’ First Set of Interrogatories, No. 6 and Third Set of   Interrog. No. 6
          Interrogatories, No. 8 (Oct. 27, 2017)                             & 3d Interrog.
                                                                             No. 8
                                                                             Pls.’ Resp. &
          Viamedia, Inc.’s Responses & Objections to Defendants’
  29                                                                         Obj. Defs.’ 2d
          Second Set of Requests for Admission (Oct. 6, 2017)
                                                                             Set of RFAs
          Plaintiff Viamedia, Inc.’s Supplemental Response to                Pls.’ Supp. Resp.
  30      Defendants’ First Set of Interrogatories, Interrogatory No. 1.     Defs.’ Interrog.
          (June 9, 2017)                                                     No. 1

  31                                                                                            .
                         (Dec. 31, 2006) (V-0000001362)                      (12/31/2006)


  32
                                               (July 13, 2009) (V-
                                                                             (7/13/2009)
          0000001392)

  33
             (Sept. 24, 2015) (COMSPOT-COM-00004598)                         (9/24/2015)

  34
          (May 30, 2003) (V-004501325)                                       (5/30/2003)



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EXHIBIT
  NO.
                         DESCRIPTION OF EXHIBIT                        ABBREVIATION


  35
                            (Sept. 22, 2008) (V-0000001550)            (9/22/2008)

  36                                             (June 27, 2008) (V-
          0000000896)                                                  (6/27/2008)


  37
                                                                       (5/19/2014)
                         (May 19, 2014) (V-0000000259)


  38
                                                                       (12/2013)
                        (Dec. 2013) (COMSPOT-COM-00005614)


  39
                        (Oct. 4, 2013) (COMSPOT-HAW-00002648)          (10/4/2013)


  40
                         (Oct. 2009) (COMSPOT-COM-00002820)
                                                                       (10/2009)


  41
                         (Aug. 2012) (COMSPOT-DEK-00054813)            (8/2012)
                                                                              )


  42
                         (Aug. 2012)                                   (8/2012)



  43
                         (Aug. 2012)
                                                                       (8/2012)


  44
                         (Apr. 2014) (V-0000001571)
                                                                       (4/2014)



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EXHIBIT
  NO.
                      DESCRIPTION OF EXHIBIT                         ABBREVIATION


  45
                                                                           (10/2015)
            (Oct. 2015) (COMSPOT-COM-00004644)

  46
                     (Oct. 4, 2013) (COMSPOT-COM-00005562)           (10/4/2013)


  47
                                    (Oct. 4, 2013) (COMSPOT-
          HAW-00002535)                                              (10/4/2013)

  48
                       (Jan. 20, 2012) (COMSPOT-COM-00005507)        (1/20/2012)

  49
                       (Jan. 30, 2012) (COMSPOT-COM-00000639)        (1/30/2012)


  50                                                                 (3/19/2013)
                                              (Mar. 19, 2013)
          (COMSPOT-COM-00000965)


  51
          (May 12, 2014) (COMSPOT-DEI-00001126)                      (5/12/2014)


  52
                                               (Aug. 18, 2015)
                                                                     (8/18/2015)
          (COMSPOT-COM-00003865)

  53                                                         (July
          18, 2014) (COMSPOT-COM-00003396)                           (7/18/2014)


                                                  (May 1, 2013)
  54
          (COMSPOT-DEK-00053998)
                                                                     (5/1/2013)


  55
                   (May 1, 2013) (COMSPOT-DEK-00114986)



                                       5
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EXHIBIT
  NO.
                       DESCRIPTION OF EXHIBIT                         ABBREVIATION

                                                                      (5/1/2013)


  56
             (Sept. 20, 2001) (VIA-0132409)                           (9/20/2001)


  57
                                 (May 15, 2002) (VIA-0132422)
                                                                      (5/15/2002)


  58
                                                (Sept. 26, 2016)      (9/26/2016)
          (COM-VIA-00733636)


  59
                       (2014) (COMSPOT-COM-00003268)
                                                                      (2014)


  60
                                                (Mar. 19, 2013)       (3/19/2013)
          (COMSPOT-COM-00000827)


  61
                                                (Mar. 18, 2013)       (3/18/2013)
          (COMSPOT-COM-00000849)

  62
          (Jan. 30, 2012) (COMSPOT-COM-00000778)                      (1/30/2012)

  63                                                (Aug. 18, 2015)
          (COMSPOT-COM-00003415)                                      (8/18/2015)


  64
                                                          (Feb.
                                                                      (2/2004)
          2004) (COMSPOT-COM- 00002127)

  65




                                         6
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EXHIBIT
  NO.
                        DESCRIPTION OF EXHIBIT                        ABBREVIATION


               (Nov. 2011) (COMSPOT-COM-00002101)                     (11/2011)



  66
          (April 25, 2014) (COMSPOT-COM-00000063)                     (4/25/2014)


  67
                                                                      (3/20/2012)
                        (Mar. 20, 2012) (V-0000001104)


  68
                        (Aug. 28, 2013) (V-000001431)
                                                                      (8/28/2013)


  69
                                (May 12, 2010)
                                                                      (5/12/2010)


  70
                                (Dec. 26, 2011)                       (12/26/2011)


  71
                                                  (Nov. 11, 2013)
                                                                      (11/11/2013)

  72
                     (Dec. 30, 2013)                                  (12/30/2013)


  73
                                                   (March 11, 2010)
                                                                      (3/11/2010)


  74
          (Mar. 27, 2015)                                             (3/27/2015)

  75
               (Nov. 4, 2015)                                         (11/4/2015)




                                             7
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EXHIBIT
  NO.
                        DESCRIPTION OF EXHIBIT                                ABBREVIATION



  76
                                                  (Aug. 31, 2010) (V-
                                                                              (8/31/2010)
          0000001418)

  77                                                   (Nov. 12, 2013)
          (V-0000000285)                                                      (11/12/2013)

  78                                                          (Jan. 1,
          2015) (V-0000001072)                                                (1/1/2015)

  79                                                              (Nov. 30,
          2009) (V-0000000803)                                                (11/30/2009)

  80                                                                (Feb.
          3, 2011) (V-0000000361)                                             (2/3/2011)

  81
              (Mar. 2, 2012) (V-0000001153)                                   (3/2/2012)

  82
                        (Jan. 1, 2014) (V-0000000188)                         (1/1/2014)


  83

          (Feb. 2016)                                                               (2/2016)

  84
                                    (Jan. 18, 2015) (V-004416579.txt)
                                                                              (1/18/2015)
                                                 (Dec. 7, 2011)
  85
          (COMSPOT-LUT-00007956)                                              (12/7/2011)

                                                                  (Oct. 7,
  86
          2015) (V-004519947)
                                                                              (10/7/2015)

  87
          (Nov. 19, 2013) (V-000454289)                                       (11/19/2013)




                                             8
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EXHIBIT
  NO.
                          DESCRIPTION OF EXHIBIT                         ABBREVIATION



  88
                           (Aug. 4, 2015) (VIA-0074963)
                                                                         (8/4/2015)

  89
                      (July 31, 2015) (V-004494159)                      (7/31/2015)
                                                 (Aug. 10, 2015)
  90
                                                                         (8/10/2015)


                                                 (May 30, 2014) (V-
  91
          0000004764)
                                                                         (5/30/2014)
                                           (COMSPOT-LUT-
  92
          00007629)

                                           (June 22, 2015) (V-
  93
          004483144)
                                                                         (6/22/2015)

  94
              (Nov. 6, 2014) (V-004394899)                               (11/6/2014)

  95
                 (Nov. 2, 2015) (V-004532118)                            (11/2/2015)

                                                          (Sept. 2015)
  96
          (VIA-0058053)
                                                                         (9/2015)

                                                 (Oct. 2013) (VIA-
  97
          0123159)
                                                                         (10/2013)

                                                      (Jan. 15, 2016)
  98
          (V-000002581)
                                                                         (1/15/2016)

  99
                                          (Feb. 9, 2016) (VIA-0000687) (2/9/2016)




                                             9
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EXHIBIT
  NO.
                           DESCRIPTION OF EXHIBIT                          ABBREVIATION


                                                               (Apr. 26,
  100
          2016)
                                                                           (4/26/2016)
                                                             (Jan. 14,
  101
          2013)                                                            (1/14/2013)

  102                       (Feb. 15, 2013)
                                                                           (2/15/2013)

                                                            (Apr. 5,
  103
          2013)                                                            (4/5/2013)


  104
                      (Aug. 15, 2016)
                                                                           (8/15/2016)

  105
                                 (June 3, 2016)                                  (6/3/2016)

                                                                  (Jan.
  106
          30, 2014)
                                                                           (1/30/2014)

  107                               (Apr. 18, 2014)
                                                                           (4/18/2014)


  108                                                            (June
                                                                           (6/20/2014)
          20, 2014)

  109                      (June 20, 2014)
                                                                           (6/20/2014)

  110


  111                              (June 12, 2015)
                                                                           (6/12/2015)
                                                      (Nov. 10, 2014)
  112
                                                                           (11/10/2014)

  113
          (Aug. 6, 2015)                                                   (8/6/2015)



                                              10
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 EXHIBIT
   NO.
                             DESCRIPTION OF EXHIBIT                           ABBREVIATION



   114
                                 (Mar. 29, 2017)
                                                                              (3/29/2017)


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: March 16, 2018                          /s/ Daniel T. Fenske
                                               Daniel T. Fenske




                                                   11
